                                                                                                Case 2:17-cv-00441-RFB-NJK Document 70 Filed 01/11/21 Page 1 of 3



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                                                                                            9
                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                           10
                                                                                                                                   DISTRICT OF NEVADA
                                                                                           11

                                                                                           12    THE BANK OF NEW YORK MELLON                 Case No.: 2:17-cv-00441-RFB-NJK
                   7625 DEAN MARTIN DRIVE, SUITE 110




                                                                                                 FKA THE BANK OF NEW YORK, AS
KIMGILBERT EBRON




                                                                                           13    TRUSTEE FOR THE                             JOINT STATUS REPORT AND
                                                       (702) 485-3300 FAX (702) 485-3301
                        LAS VEGAS, NEVADA 89139




                                                                                                 CERTIFICATEHOLDERS OF CWALT,                STIPULATION TO CONTINUE STAY
                                                                                           14    INC., ALTERNATIVE LOAN TRUST 2005-
                                                                                                 3CB, MORTGAGE PASS-THROUGH                  (FIRST REQUEST)
                                                                                           15    CERTIFICATES, SERIES 2005-3CB,

                                                                                           16                         Plaintiff,
                                                                                                 vs.
                                                                                           17
                                                                                                 FRANCESCA FALCO; SFR
                                                                                           18    INVESTMENTS POOL 1, LLC;
                                                                                                 LAMPLIGHT SQUARE AT CORONADO
                                                                                           19    RANCH, LLC; DOE INDIVIDUALS I-X,
                                                                                                 inclusive; and ROE CORPORATIONS I-X,
                                                                                           20    inclusive,

                                                                                           21                         Defendants.

                                                                                           22
                                                                                                 SFR INVESTMENTS POOL 1, LLC,
                                                                                           23
                                                                                                        Counterclaimant/Cross-Claimant,
                                                                                           24    vs.

                                                                                           25    THE BANK OF NEW YORK MELLON
                                                                                                 FKA THE BANK OF NEW YORK, AS
                                                                                           26    TRUSTEE FOR THE
                                                                                                 CERTIFICATEHOLDERS OF CWALT,
                                                                                           27    INC., ALTERNATIVE LOAN TRUST 2005-
                                                                                                 3CB, MORTGAGE PASS-THROUGH
                                                                                           28    CERTIFICATES, SERIES 2005-3CB;

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                                                                                                Case 2:17-cv-00441-RFB-NJK Document 70 Filed 01/11/21 Page 2 of 3


                                                                                                 FRANCESCA FALCO, an individual,
                                                                                            1
                                                                                                         Counter-Defendant/Cross-Defendant.
                                                                                            2

                                                                                            3
                                                                                                           JOINT STATUS REPORT AND STIPULATION TO CONTINUE STAY
                                                                                            4
                                                                                                        Pursuant to the October 11, 2020, Order [ECF No. 67], SFR Investments Pool 1, LLC
                                                                                            5
                                                                                                (“SFR”), The Bank of New York Mellon fka The Bank of New York, as Trustee for the
                                                                                            6
                                                                                                Certificateholders of CWALT, Inc., Alternative Loan Trust 2005-3CB, Mortgage Pass-Through
                                                                                            7
                                                                                                Certificates, Series 2005-3CB (“BNYM”) and Lamplight Square at Coronado Ranch, LLC (“The
                                                                                            8
                                                                                                Association”) hereby submit the following Joint Status Report re: Settlement.
                                                                                            9
                                                                                                        As set forth in the Notice of Settlement and Stipulation to Stay Proceedings submitted on
                                                                                           10
                                                                                                October 7, 2020 [ECF No. 66], SFR and the Bank have reached a settlement agreement in principle
                                                                                           11
                                                                                                to settle this case. It is part of a more comprehensive settlement. SFR and BNYM have worked
                                                                                           12
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                                                                                                diligently to get the settlement finalized, but due to continuing COVID-19 pandemic issues there
KIMGILBERT EBRON




                                                                                           13
                                                       (702) 485-3300 FAX (702) 485-3301
                        LAS VEGAS, NEVADA 89139




                                                                                                have been sever delays in completing a condition precedent to settlement, leading to the need for
                                                                                           14
                                                                                                additional time. The most recent signed agreement provides for full resolution of the condition
                                                                                           15
                                                                                                precedent on or before May 5, 2021.
                                                                                           16
                                                                                                        The parties have reached an agreement to extend the deadline for meeting that condition to
                                                                                           17
                                                                                                and extending the stay until May 15, 2021, 10 (ten) days after that May 5, 2021 finalization date.
                                                                                           18
                                                                                                Additionally, the Bank and the Association continue to explore the potential for settlement.
                                                                                           19
                                                                                                        The parties therefore agree to continue the stay of proceedings until May 15, 2021. This
                                                                                           20
                                                                                                will afford all parties additional time to finalize the settlement without incurring extra expenses or
                                                                                           21
                                                                                                burdening the court.
                                                                                           22
                                                                                                        The parties further agree to file a status report regarding the settlement within ninety (90)
                                                                                           23
                                                                                                days from entry of this Order.
                                                                                           24
                                                                                                        Additionally, the parties agree any party may move to lift the stay during the time this
                                                                                           25
                                                                                                matter is stayed pursuant to this stipulation. The parties further reserve the right to stipulate to lift
                                                                                           26
                                                                                                the stay during the aforementioned period in which the matter is stayed pursuant to this stipulation.
                                                                                           27

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                                                                                            1          This is the parties' first request for to continue the stay of proceedings and is not intended

                                                                                            2   to cause any delay or prejudice to any party.

                                                                                            3    DATED this 11th day of January, 2021.              DATED this 11th day of January, 2021.
                                                                                            4    KIM GILBERT EBRON                                  AKERMAN LLP
                                                                                            5    /s/ Chantel M. Schimming                           /s/ Rex D. Garner
                                                                                                 DIANA S. EBRON, ESQ.                               NATALIE L. WINSLOW, ESQ.
                                                                                            6    Nevada Bar No. 10580                               Nevada Bar No. 12125
                                                                                                 CHANTEL M. SCHIMMING, ESQ.                         REX D. GARNER, ESQ.
                                                                                            7    Nevada Bar No. 8886                                Nevada Bar No. 9401
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                                                                                            8    Las Vegas, Nevada 89139                            Las Vegas, NV 89134
                                                                                            9    Attorneys for SFR Investments Pool 1, LLC          Attorneys for The Bank of New York
                                                                                                                                                    Mellon fka The Bank of New York, as
                                                                                           10                                                       Trustee for the Certificateholders of
                                                                                                                                                    CWALT, Inc., Alternative Loan Trust
                                                                                           11                                                       2005-3CB, Mortgage Pass-Through
                                                                                                                                                    Certificates, Series 2005-3CB
                                                                                           12
                   7625 DEAN MARTIN DRIVE, SUITE 110
KIMGILBERT EBRON




                                                                                           13    DATED this 11th day of January, 2021.
                                                       (702) 485-3300 FAX (702) 485-3301
                        LAS VEGAS, NEVADA 89139




                                                                                           14    BOYACK ORME & ANTHONY
                                                                                           15    /s/ Patrick A. Orme
                                                                                                 EDWARD D. BOYACK, ESQ.
                                                                                           16    Nevada Bar No. 5229
                                                                                                 PATRICK A. ORME, ESQ.
                                                                                           17    Nevada Bar No. 7853
                                                                                                 7432 W. Sahara Avenue, Suite 101
                                                                                           18    Las Vegas, NV 89117
                                                                                                 Attorneys for Lamplight Square at Coronado
                                                                                           19    Ranch, LLC
                                                                                           20
                                                                                                                                             ORDER
                                                                                           21

                                                                                           22          Based on the foregoing stipulation, IT IS HEREBY ORDERED that the litigation stay
                                                                                           23   is continued until May 15, 2021. The parties are to file a status report within 90 days of the
                                                                                           24   issuance of this order.
                                                                                                                                                      IT IS SO ORDERED.
                                                                                           25

                                                                                           26                                                         ___________________________________
                                                                                                                                                      UNITED STATES DISTRICT JUDGE
                                                                                           27
                                                                                                                                                      DATED: ___________________________
                                                                                           28                                                         DATED this 11th day of January, 2021.

                                                                                                                                                -3-
